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                                                                                                        FORM 3
                  UNITED STATES COURT OF INTERNATIONAL TRADE

 DAIKIN COMFORT TECHNOLOGIES
 MANUFACTURING, L.P.,
                                                            SUMMONS
 Plaintiff,
          v.                                                Court No. 24-252

 UNITED STATES,
                         Defendant.

TO:     The Attorney General, the Department of Commerce, and/or the Commissioner of U.S.
        Customs and Border Protection, and/or the United States International Trade
        Commission:

        PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28 U.S.C.
        § 1581(c) to contest the determination described below.

                                   /s/ Mario Toscano
                                   Clerk of the Court

1.      Plaintiff Daikin Comfort Technologies Manufacturing, L.P. is a U.S. importer of subject
        merchandise within the scope of the countervailing duty investigation of aluminum
        extrusions from the People’s Republic of China. Plaintiff is an interested party under 19
        U.S.C. § 1677(9)(A) and participated in the underlying proceeding. As such, Plaintiff has
        standing to bring this action under 19 U.S.C. § 1516a(d) and 28 U.S.C. § 2631(c).
        (Name and standing of plaintiff)
2.      Plaintiff contests various aspects of the final determination of the U.S. Department of
        Commerce in the countervailing duty investigation of aluminum extrusions from the
        People’s Republic of China, see Aluminum Extrusions From the People’s Republic of
        China: Final Affirmative Countervailing Duty Determination, 89 Fed. Reg. 80,526 (Oct.
        3, 2024). This determination is reviewable pursuant to 19 U.S.C. § 1516a(3).
        (Brief description of contested determination)
3.      September 26, 2024
        (Date of determination)
4.      October 3, 2024
        (If applicable, date of publication in Federal Register of notice of contested determination)

           /s/Richard P. Ferrin                                 Richard P. Ferrin, Douglas J. Heffner, and
         Signature of Plaintiff’s Attorney                      Carrie Bethea Connolly
         December 20, 2024                                      FAEGRE DRINKER BIDDLE & REATH
         Date                                                   LLP
                                                                1500 K Street, N.W.
                                                                Washington, DC 20005
                                                                (202) 230-5803
                                                                richard.ferrin@faegredrinker.com
                                                               Name, Address, Telephone Number



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                                                     and E-Mail Address of Plaintiff’s Attorney


                         SERVICE OF SUMMONS BY THE CLERK

                If this action, described in 28 U.S.C. § 1581(c), is
               commenced to contest a determination listed in section
               516A(a)(2) or (3) of the Tariff Act of 1930, the action is
               commenced by filing a summons only, and the clerk of the
               court is required to make service of the summons. For that
               purpose, list below the complete name and mailing address
               of each defendant to be served.

               (As amended July 21, 1986, eff Oct. 1, 1986; Sept. 30, 2013, eff.
               Jan. 1, 2014; Nov 28, 2006, eff. Jan. 1, 2007, Dec. 7, 2010, eff.
               Jan. 1, 2011; July 17, 2017, eff. July 17, 2017; Oct. 25, 2017, eff.
               Oct. 25, 2017; Sept. 18, 2018, eff. Oct. 15, 2018.)


On Behalf of the United States of America

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On Behalf of the United States Department of Commerce

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U.S. Department of Commerce
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